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                                      ORDERED.
  Dated: January 09, 2025




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
                                   www.flmb.uscourts.gov


In re:                                                 Chapter 11

AMERICAN MARICULTURE, INC,                             Case No. 2:25-bk-00022-FMD

         Debtor.
                                      /

                  ORDER GRANTING DEBTOR’S EXPEDITED MOTION
                 FOR ORDER DIRECTING JOINT ADMINISTRATION OF
              CHAPTER 11 CASES PURSUANT TO BANKRUPTCY RULE 1015(b)

         THIS CASE came before the Court without a hearing for consideration of the Debtor’s

Expedited Motion for Order Directing Joint Administration of Chapter 11 Cases Pursuant to

Bankruptcy Rule 1015(b) (the “Motion”) filed in the Chapter 11 cases of American Mariculture,

Inc., Case No. 2:25-bk-00022-FMD (“AMI”) (Doc. No. 6), American Penaeid, Inc., Case No.

2:25-bk-00023-FMD (“API”) (Doc. No. 6), and Sun Shrimp Gourmet, Inc., Case No. 2:25-bk-

00024-FMD (“SSG”) (Doc. No. 6) (collectively referred to as the “Bankruptcy Cases”). The

Court finds that the Motion is well taken and should be granted. Accordingly, it is

         ORDERED:

         1.      The Motion (Doc. No. 6) is granted.
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         2.       The Bankruptcy Cases shall be jointly administered and In re American

Mariculture, Inc., Case No. 2:25-bk-00022-FMD is designated as the “Lead Case.”

         3.       The Clerk of the Court shall maintain a single case docket and Court file under the

Lead Case number.

         4.       The Clerk of the Court shall maintain separate claims registers and ballot files (if

separate plans are filed) for each Bankruptcy Case.

         5.       Except as otherwise set forth below, all papers including, without limitation,

motions, applications, notices, monthly operating reports, and orders, shall be filed in the Lead

Case and shall bear the following joint administration caption:


                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION
                                     www.flmb.uscourts.gov


In re:                                                  Chapter 11

AMERICAN MARICULTURE, INC,                              Case No. 2:25-bk-00022-FMD
AMERICAN PENAEID, INC,                                  Case No. 2:25-bk-00023-FMD
SUN SHRIMP GOURMET, INC,                                Case No. 2:25-bk-00024-FMD

         Debtors.                                       Jointly Administered under
                                                /       Case No. 2:25-bk-00022-FMD

         6.       The Clerk of the Court shall docket this Order in each of the Bankruptcy Cases and

give notice to all CM/ECF filers and PACER users that all future filings shall be filed and docketed

in the Lead Case.

         7.       The following papers shall be filed in the separate Bankruptcy Cases, captioned

with the name and case number for that particular case:




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                  a.     List of creditors pursuant to Rule 1007(d) of the Federal Rules of

                         Bankruptcy Procedure;

                  b.     Schedules and statements of financial affairs (and any amendments thereto),

                  c.     Claims and notices relating to transfers of claims (however, objections to

                         claims shall be filed in the Lead Case and shall specify the jointly

                         administered case to which the objection applies);

                  d.     Ballots (if separate plans are filed); and

                  e.     Motions for final decree.

         8.       Each of the jointly administered Debtors shall file separate monthly operating

reports to be docketed in the Lead Case.

         9.       Papers and orders that pertain to one or more specific Debtor(s) shall be filed in the

Lead Case; however, the caption of the paper or order shall designate the specific Debtor(s) to

which the paper or order applies. The caption of the paper and/or order shall be in the following

form:

                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION
                                     www.flmb.uscourts.gov

In re:                                                   Chapter 11

AMERICAN MARICULTURE, INC,                               Case No. 2:25-bk-00022-FMD
AMERICAN PENAEID, INC,                                   Case No. 2:25-bk-00023-FMD
SUN SHRIMP GOURMET, INC,                                 Case No. 2:25-bk-00024-FMD

         Debtors.                                        Jointly Administered under
                                                 /       Case No. 2:25-bk-00022-FMD

[Name of Specific Debtor],                               Case No.

         Applicable Debtor.
                                                 /



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         10.      The debtors in possession, or if applicable, trustees, shall not commingle assets or

liabilities unless and until the Court determines, after notice and hearing, that grounds exists to

order substantive consolidation of the Bankruptcy Cases.

         11.      If creditors are added to the matrices of the jointly administered Debtors, counsel

for the Debtors shall serve this Order on all added creditors and file proof of such service in the

Lead Case.

Attorney Scott A. Stichter is directed to serve a copy of this order on interested parties who do not receive CM/ECF
service and file a proof of service within 3 days of entry of the order.




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